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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


KENNETH WESLEY SMITH, #1848189                   §
                                                 §
VS.                                              §                CIVIL ACTION NO. 4:21cv522
                                                 §
DIRECTOR, TDCJ-CID                               §

                                   ORDER OF DISMISSAL

       The above-entitled and numbered civil action was referred to United States Magistrate Judge

Christine A. Nowak, who issued a Report and Recommendation (Dkt. #8) concluding that the
         .
petition for writ of habeas corpus filed pursuant to 28 U.S.C. § 2254 should be denied and dismissed

with prejudice as time-barred. No objections were timely filed.

       The Court concludes that the findings and conclusions of the Magistrate Judge are correct,

and adopts the same as the findings and conclusions of the Court.

        It is accordingly ORDERED that Petitioner’s petition for writ of habeas corpus (Dkt. #1)

is DENIED and the case is DISMISSED with prejudice. A certificate of appealability is DENIED.

All motions by either party not previously ruled upon are DENIED.

            So ORDERED and SIGNED this 20th day of October, 2021.




                                                             ____________________________________
                                                             SEAN D. JORDAN
                                                             UNITED STATES DISTRICT JUDGE
